       Case 9:20-cv-00043-RC-CLS Document 2 Filed 03/10/20 Page 1 of 3 PageID #: 93
                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE Eastern DISTRICT OF TEXAS
                                                  Jjj-E&I.N          DIVISION

      Edward Herrera 585206
Plaintiff s name and ID Number


      Jester III Unit
Place of Confinement



                                                                            CASE NO.
                                                         oiMcrcOUf?          (Clerk will assign the number)
V.


                                           By                               APPLICATION 10 PROCEED
                                                UTy                           IN FORMA PAUPERIS
      Lorie Davis (Director)
Defendant s name and address




         I, EDWARD Herrera , declare, depose, and say I am the Plaintiff in the above entitled case. In support
of my motion to proceed without being required to prepay fees, costs, or give security therefor, I state because of my
poverty, I am unable to pay in advance the filing fee for said proceedings or to give security for the filing fee. I believe I
am entitled to relief.

         I, further declare the responses which I have made to the questions and instructions below are true.

         1. Have you received, within the last 12 months, any money from any of the following sources?

                 a.      Business, profession or from self-employment?                       Yes          No 0
                 b.      Rent payments, interest or dividends?                               Yes          No 0
                 c.      Pensions, annuities or life insurance payments?                     Yes          No 0
                 d.      Gifts or inheritances?                                              Yes          No 0
                 e.      Family or friends?                                                  Yes B        No
                 f.      Any other sources?                                                  Yes          No 0

                 If you answered YES to any of the questions above, describe each source of money and state
                 the amount received from each during the past 12 months.

                      / /lc/ y/ys/ fo/fA

         2.      Do you own cash, or do you have money in a checking or savings account, including any funds
                 in prison accounts?
                                                      Yes B No

                 If you answered
                         insweredYES
                                  ilia to
                                       to any
                                          anyof
                                              otthe questions above, state the total value of the items owned.




                                                                 1
                                                                                                           ATCIFP (REV. 9/02)
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       3.     Do you own real estate, stocks, bonds, note, automobiles, or other valuable property, excluding
              ordinary household furnishings and clothing?

                                               Yes           No B

              If you answered YES, describe the property and state its approximate value.

                                                 N/A '
                                                 N/A                             ~


I understand a false statement in answer to any question in this affidavit ill subject me to penalties for
perjury. I declare (certify, verify, or state) under penalty of perjury that the foregoing is true and correct
(28 U.S.C. §1746).



       Signed this the                                          r/ Z/         20 2-?




                              Signature of Plaintiff 7 ID Number



       YOU MUST ATTACH A CURRENT SIX (6) MONTH HISTORY OF
       YOUR INMATE TRUST ACCOUNT. YOU CAN ACQUIRE THE
       APPROPRIATE INMATE ACCOUNT CERTIFICATE FROM THE
       LAW LIBRARY AT YOUR PRISON UNIT.




                                                          2                                         ATCIFP (REV. 9/02)
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J314/GL00113 IN-FORMA-PAUPERIS DATA 07:13:34
TDCJ#: 00585206 SID#: 03796611 LOCATION: JESTER III INDIGENT DTE:
 NAME: HERRERA,EDWARD BEGINNING PERIOD: 09/01/19
 PREVIOUS TDCJ NUMBERS: 00456621
  CURRENT BAL: 50.04 TOT HOLD AMT: 0.00 3MTH TOT DEP: 310.
00 6MTH DEP: 740.00 6MTH AVG BAL: 26.04 6MTH AVG DEP: 123
.33 MONTH HIGHEST BALANCE TOTAL DEPOSITS MONTH HIGHEST BALANCE TOTAL DEPOSITS
     02/20     30.36          45.00        11/19     76.26          100.00
      01/20     90.76         140.00        10/19     98.16          170.00
    12/19            77.56                      125.00   09/19   92.35          160.00




        STATE OF TEXAS COUNTY OF
         ON THIS THE $ DAY OF {VUlrc I CERTIFY THAT THIS DOCUMENT IS A
TRUE, COMPLETE,AND UNALTERED COPY MADE BY ME OF INFORMATION CONTAINED IN TH
E COMPUTER DATABASE REGARDING THE OFFENDER'S ACCOUNT. NP STG
         PF1-HELP PF3-END ENTER NEXT TDCJ NUMBER: OR SID NUMBER:


                MS. LAURIE GILBE T
                      ID 13098837-8
                Notary Public, State of Texas
                  My Commission Expires
                         01/27/2021
            Notary Without Bond
